           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
         Plaintiff,                          )
                                             )
  v.                                         )   Criminal Action No.
                                             )   13-00031-02-CR-W-FJG
LARISHA GRANT,                               )
                                             )
         Defendant.                          )

                                         ORDER

       On March 27, 2013, Defendant was ordered to undergo a competency evaluation.

Defendant was examined by Leslie Powers, Ph.D. It is the opinion of Dr. Powers that

Defendant is competent to proceed. During the July 22, 2013, competency hearing, United

States Magistrate Judge Robert E. Larsen took judicial notice of Dr. Powers’ report.

Therefore, after making an independent review of the record, it is

       ORDERED that the Report and Recommendation of Magistrate Judge Robert

Larsen is adopted in its entirety, and this court finds that Defendant is competent.




Date: July 25, 2013                              S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                            Fernando J. Gaitan, Jr.
                                                 Chief United States District Judge




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